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                    6 Suzhou Sunshine Technology Co., Ltd.
                    7
                    8                     UNITED STATES DISTRICT COURT
                    9                   SOUTHERN DISTRICT OF CALIFORNIA
                  10 FOURTE INTERNATIONAL                     Case No. 3:18-cv-00297-BAS-BGS
                     LIMITED BVI, a British Virgin Islands
                  11 company; FOURTE                          SPECIALLY APPEARING
                     INTERNATIONAL SDN.BHD., a                DEFENDANTS’ OPPOSITION TO
                  12 Malaysia company,                        PLAINTIFFS’ EX PARTE
                                                              APPLICATION FOR COURT
                  13            Plaintiffs,                   ORDER AUTHORIZING EMAIL
                                                              SERVICE OF SUMMONS AND
                  14        v.                                COMPLAINT ON DEFENDANTS
                                                              SUZHOU PINSHINE
                  15 PIN SHINE INDUSTRIAL CO., LTD.,          TECHNOLOGY CO., LTD. AND
                     a Taiwan business company; SUZHOU        SUZHOU SUNSHINE
                  16 PINSHINE TECHNOLOGY CO.,                 TECHNOLOGY CO., LTD.
                     LTD., a Peoples Republic of China
                  17 company; SUZHOU SUNSHINE                 (FED. RULE CIV. PROC. 4(f)(3))
                     TECHNOLOGY CO., LTD., a Peoples
                  18 Republic of China company; BOBBIN        Judge: Hon. Cynthia Bashant
                     & TOOLING ELECTRONICS
                  19 INTERNATIONAL COMPANY OF                 Complaint Filed: February 7, 2018
                     BVI, a British Virgin Islands company,   Trial Date:      None Set
                  20
                                  Defendants.
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                    1        Specially appearing defendants Suzhou Pinshine Technology Co., Ltd. and
                    2 Suzhou Sunshine Technology Co., Ltd. (together, “Defendants”) submit this
                    3 memorandum in opposition to Plaintiffs Fourte International Limited BVI and
                    4 Fourte International SDN.BHD’s (together, “Plaintiffs”) ex parte Application for an
                    5 Order authorizing email service of the Summons and Complaint in this action on
                    6 Defendants by email (the “Application”).
                    7        I.     Defendants Make A Special Appearance In This Action Only To
                    8               Oppose Plaintiffs’ Ex Parte Application
                    9        As a threshold matter, Defendants’ special appearance in this action is
                  10 intended to notify the Court of Plainitff’s lack of compliance with the Court’s rules
                  11 and the Federal Rules of Civil Procedure and to challenge Plaintiff’s requested
                  12 manner of service of process. This special appearance should not be construed as
                  13 accomplishing service or submitting to the Court’s jurisdiction. If and once
                  14 Plaintiffs actually effectuate service, Defendants intend to assert appropriate service
                  15 of process and jurisdiction defenses if applicable. Accordingly, Defendants’ special
                  16 appearance in this action do not waive their right to challenge Plaintiffs’ method of
                  17 service or the Court’s jurisdiction over them. See Am. Ass’n of Naturopathic
                  18 Physicians v. Hayhurst, 227 F.3d 1104, 1107 (9th Cir. 2000) (noting defendant
                  19 preserved his right to bring a Rule 12(b)(5) motion when he raised an insufficient
                  20 service of process defense in his previous motion); Twin Rivers Eng’g, Inc. v.
                  21 Fieldpiece Instruments, Inc., No. CV1604502BROMRWX, 2016 WL 7479373, at
                  22 *5 (C.D. Cal. Sept. 8, 2016) (finding that where, in its “first appearance in th[e]
                  23 action,” defendant “explicitly stated that it intended to assert the defense of
                  24 insufficient service of process . . . it did not waive its right to challenge Plaintiff’s
                  25 method of service”); see also Tart Optical Enterprises, LLC v. Light Co., No.
                  26 LACV1608061JAKMRWX, 2017 WL 5957728, at *2 (C.D. Cal. Sept. 27, 2017)
                  27 (defendant entered a special appearance and filed an opposition arguing it had not
                  28 been served properly).

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                    1        II.    Plaintiffs’ Application Does Not Comply With The Court’s Rules
                    2               Regarding Ex Parte Applications
                    3        Plaintiffs have failed to comply with the Court’s local rules regarding ex parte
                    4 motions. Pursuant to this Court’s standing order, all ex parte applications must
                    5 comply with the civil local rules. See Hon. Bashant Standing Order, ¶ 6. Although
                    6 Plaintiffs claim to “have been continuously in email communications with
                    7 [Defendants],” [Dkt. 5 at 4], Plaintiffs’ declarations fail to document the specific
                    8 efforts Plaintiffs made to contact Defendants regarding their present Application, as
                    9 required by Civil Local Rule 83.3(g)(2). [See Dkt. 5-1; Dkt. 5-2]. Neither of the
                  10 declarations Plaintiffs filed with their Application assert, as required, that (1) before
                  11 making the motion, Plaintiffs informed Defendants when and where the motion
                  12 would be made, or (2) Plaintiffs in good faith attempted to inform Defendants of
                  13 their motion but were unable to do so, specifying the efforts made to inform them,
                  14 or (3) Plaintiffs should not be required to inform Defendants of the motion for
                  15 particular reasons specified. See id; Local R. 83.3(g)(2). Indeed, Plaintiffs made no
                  16 attempt at all to inform Defendants about their Application before it was made. See
                  17 Declaration of Alan C. Chen (“Chen Decl.”), ¶¶ 2, 3. Plaintiffs’ filing of the
                  18 Application on an ex parte basis without notice lacked the requisite good faith and
                  19 was an attempt to prejudice Defendants, who are located 15 hours ahead of
                  20 Plaintiffs, and deprive them of a meaningful opportunity to object to the
                  21 Application. Accordingly, Plaintiffs’ ex parte Application is improper under the
                  22 Court’s local rules.
                  23         III.   Service By Email Is Impermissible Under the Circumstances Due
                  24                to Plaintiff’s Lack of Due Diligence
                  25         Plaintiffs argue that the Court should order an alternative method of serving
                  26 process under Rule 4(f)(3) because (1) one of Defendants, Suzhou Pinshine
                  27 Technology Co., Ltd., allegedly refused receipt of the Summons and Complaint, and
                  28 (2) service by email is “the most efficient and effective method of service.” [Dkt. 5

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                    1 at 4]. This argument is wholly unavailing as, “[a]lthough a plaintiff need not have
                    2 attempted every permissible means of service of process before petitioning the court
                    3 for alternative relief [pursuant to Rule 4(f)(3)], a plaintiff must show that facts and
                    4 circumstances of the present case necessitate the court’s intervention.” Tart
                    5 Optical, 2017 WL 5957728, at *6 (quotations and citation omitted) (emphasis
                    6 added). Plaintiffs have not shown any such facts and circumstances.
                    7        First, notwithstanding opportunities to comply with the required means of
                    8 service under the Hague Convention, Plaintiffs have elected not to use them. There
                    9 are several methods to effectuate service under the Hague Convention: (1) use of the
                  10 country’s designated Central Authority (Hague Convention, Art. 2); (2) international
                  11 postal channels (id., Art. 10(a)); direct service through an agent in the destination
                  12 country (id., Art. 10(b)); service through diplomatic or consular channel (id., Art. 8);
                  13 or service under the destination country’s local rules (id., Art. 19). To the best of
                  14 Defendants’ knowledge, Plaintiffs have made no effort to comply with China’s rules
                  15 of service of process, under which email service is not authorized,1 or any other
                  16 means outlined in the Hague Convention. Chen Decl., ¶¶ 2-4.
                  17         Second, “the mere fact that service of process abroad is expensive and time
                  18 consuming is generally not sufficient to demonstrate that the facts and
                  19 circumstances necessitate the district court’s intervention.” Tart Optical, 2017 WL
                  20 5957728 at *6. (citation omitted). Therefore, there is no justification to allow an
                  21 alternative service method. Id. (denying plaintiff’s motion to authorize service by
                  22 email and through defendant’s Facebook account). On this basis alone, the Court
                  23 should deny Plaintiffs’ Application.
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                  25    1
                       Plaintiffs do not point to any Chinese law allowing service by email, nor could
                  26 they, as service by email is not authorized under Chinese law. See Chen Decl., ¶ 4
                     (citing Civil Procedure Law of the People’s Republic of China, Art. 77-84).
                  27 Therefore, Plaintiffs cannot serve Defendants in compliance with Chinese law by
                  28 their requested method.

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                    1        IV.    Service By Email Is Prohibited By The Hague Convention As
                    2               Between The United States And China
                    3        Rules 4(h)(2) and 4(f)(3) permit service of summons on a foreign corporation
                    4 “by other means not prohibited by international agreement, as the court orders.”
                    5 Accordingly, if a means of service is “prohibited by international agreement,” then,
                    6 under Rule 4(f)(3), it may not be used even with a court order. As such, for
                    7 Plaintiffs to establish that service of process upon Defendants by email is
                    8 appropriate, they must show that an applicable international agreement does not
                    9 prohibit service by email. Plaintiffs do not (and cannot) carry this burden.
                  10         Plaintiffs contend that service on Defendants by email is proper because the
                  11 Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents
                  12 in Civil and Commercial Matters (“Hague Convention”), to which China is a
                  13 signatory, does not prohibit email service. [Dkt. 5 at 2-3]. However, in so arguing,
                  14 Plaintiffs attempt to simplify the issue, as the Hague Convention does prohibit
                  15 effectuating service by “postal channels, directly to persons abroad” where the
                  16 destination country has objected to such means of service. (Hague Convention, Art.
                  17 10(a)). Plaintiffs concede that China has indeed objected to Article 10 of the Hague
                  18 Convention regarding service by “postal channels,” [see Dkt. 5 at 3], and email is a
                  19 “postal channel,” or tantamount to the same. See Agha v. Jacobs, No. C 07-1800
                  20 RS, 2008 WL 2051061, at *2 (N.D. Cal. May 13, 2008) (finding “no policy or other
                  21 basis” for drawing a distinction between email and “postal channels”). Plaintiffs
                  22 also do not contend that the physical addresses of Defendants are unknown.
                  23 Accordingly, because service of process by email is prohibited by the applicable
                  24 Hague Convention as it exists between the United States and China, the Court
                  25 should deny Plaintiffs’ Application. See id. at *1-*2 (denying motion to serve
                  26 summons and complaint by email and holding that plaintiff seeking alternative
                  27 service by email on defendants under Rule 4(f)(3) had failed to show that such
                  28 means were permissible under the applicable international agreement, as Germany

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                    1 was a member of the Hague Convention and had filed its objection under Article 10
                    2 to service through postal channels, and email could not be distinguished from
                    3 “postal channels”).
                    4          For the reasons set forth above, Defendants respectfully request that this
                    5 Court issue an Order denying Plaintiffs’ ex parte Application for an Order
                    6 authorizing service of the Summons and Complaint in this action on Defendants by
                    7 email.
                    8          Respectfully submitted,
                    9
                  10 Dated: March 27, 2018               ZUBER LAWLER & DEL DUCA LLP
                  11
                  12                                     By:   /s/ Alan C. Chen
                                                               Alan C. Chen
                  13
                                                               Attorney for Defendants
                  14                                           Suzhou Pinshine Technology Co., Ltd., and
                                                               Suzhou Sunshine Technology Co., Ltd.
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                    1                            CERTIFICATE OF SERVICE
                    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                    3        At the time of service, I was over 18 years of age and not a party to this
                      action. I am employed in the County of Los Angeles, State of California. My
                    4 business address is 350 S. Grand Avenue, 32nd Floor, Los Angeles, CA 90071.
                    5      On March 27, 2018, I served true copies of the following document(s)
                     described as OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION
                   6 FOR COURT ORDER AUTHORIZING EMAIL SERVICE OF SUMMONS
                     AND COMPLAINT ON DEFENDANTS SUZHOU PINSHINE
                   7 TECHNOLOGY CO., LTD. AND SUZHOU SUNSHINE TECHNOLOGY
                     CO., LTD. on the interested parties in this action as follows:
                   8
                           Norman L. Smith                           Email: nsmith@swsslaw.com
                   9       Tanya Marie Schierling                    Email: tschierling@swsslaw.com
                           SOLOMON WARD
                  10       SEIDENWARM & SMITH, LLP
                           401 B Street, Suite 1200
                  11       San Diego, CA 92101
                           Tel: (619) 231-0303
                  12       Fax: (619) 231-4755
                  13         Counsel for Plaintiffs
                             Fourte International Limited BVI and
                  14         Fourte International SDN. BHD.
                  15        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                     the document(s) with the Clerk of the Court by using the CM/ECF system.
                  16 Participants in the case who are registered CM/ECF users will be served by the
                     CM/ECF system. Participants in the case who are not registered CM/ECF users will
                  17 be served by mail or by other means permitted by the court rules.
                  18       I declare under penalty of perjury under the laws of the United States of
                     America that the foregoing is true and correct and that I am employed in the office
                  19 of a member of the bar of this Court at whose direction the service was made.
                  20         Executed on March 27, 2018, at Los Angeles, California.
                  21
                  22                                             /s/ Alan C. Chen
                                                                 Alan C. Chen
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